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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO.

     JANET GULI,

           Plaintiff,

     v.

     REGIONAL ADJUSTMENT BUREAU, INC.,
     JOHN DOE.,

           Defendants.

     _________________________________________/

                                     COMPLAINT
                                    JURY DEMAND

           1.       Plaintiff alleges violation Telephone Consumer Protection Act,

     47 U.S.C §227, et seq. (“TCPA”), Fair Debt Collection Practices Act, 15

     U.S.C. §1692 et seq. (“FDCPA”) and Florida Consumer Collection Practices

     Act Fla. Stat. 559.555 et seq. (“FCCPA”).

                            JURISDICTION AND VENUE

           2.       This Court has jurisdiction under 28 U.S.C. §1331, 1337, 1367

     and 15 U.S.C. 1692k and Mims v. Arrow Fin. Servs. LLC, 132 S. Ct. 740

     (U.S. 2012).
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            3.     Venue in this District is proper because Plaintiff resides here

     and Defendant, REGIONAL ADJUSTMENT BUREAU, INC., (“RAB”)

     placed telephone calls into this District.

                                         PARTIES

            4.     Plaintiff, Janet Guli (“Plaintiff”), is a natural person, and citizen

     of the State of Florida, residing in Broward County, Florida.

            5.     Defendant, RAB, is a corporation with its principal place of

     business at 1900 Charles Bryan, Suite 110, Memphis, TN, 38016.

            6.     Defendant regularly collects or attempts to collect debts for
     other parties.

            7.     Defendant sought to collect an alleged debt from Plaintiff

     arising from personal, family or household purposes.

            8.     Defendant is in the business of collecting consumer debts and is

     a “debt collector” as defined in the FDCPA. See LeBlanc v. Unifund CCR

     Partners, 601 F.3d 1185 (11th Cir. 2010).

            9.     Defendant, John Doe, is a business entity, which is the creditor

     on whose behalf, RAB, was attempting to collect an alleged debt.

            10.    Because John Doe is the creditor on whose behalf RAB, placed

     the calls, it is jointly and severally liable to Plaintiff with respect to the

     alleged violations of the TCPA. The Federal Communications Commission

     has held: “Similarly, a creditor on whose behalf an autodialed or prerecorded
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     message call is made to a wireless number bears the responsibility for any

     violation of the Commission’s rules.” FCC, IN THE MATTER OF RULES

     AND REGULATIONS IMPLEMENTING THE TELEPHONE

     CONSUMER PROTECTION ACT OF 1991: REQUEST OF ACA

     INTERNATIONAL FOR CLARIFICATION AND DECLARATORY

     RULING, 07-232, ¶10, (2007), (“FCC RUL. 07-232”).

                            FACTUAL ALLEGATIONS

           11.    Beginning on or around May 9, 2014, Defendant, RAB, acting

     on behalf or at the request of John Doe, attempted to communicate with

     Plaintiff on her cellular telephone with pre-recorded messages and/or using

     an Automatic Telephone Dialing System (“ATDS”):

           12.    Beginning on or around May 9, 2014, plaintiff answered her

     cellular telephone and was greeted with music playing for approximately 2-5

     seconds or dead air and then transferred to a live employee, collectively

     known as (“telephone calls”).

           13.    Beginning on or around May 9, 2014 an employee of Defendant

     contacted with Plaintiff in an effort to obtain contact information (location

     information) pertaining to a debtor unknown to the plaintiff.

           14.    Plaintiff instructed Defendant to stop calling – Defendant’s

     phone calls were directed to the wrong party.
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           15.    Defendant, RAB, placed additional telephone calls after being

     told to stop calling.

           16.    Section 559.553 of the Florida Consumer Collection Practices

     Act (“FCCPA”) requires all debt collectors to first register with the Florida

     Office of Financial Regulation before attempting to collect a debt. See

     LeBlanc v. Unifund CCR Partners, 601 F.3d 1185 (11th Cir. 2010).

           17.    Defendant was attempting to collect a debt from Plaintiff and

     was required to register with the Florida Office of Financial Regulation

     before commencing any action against Plaintiff to collect the debt.

           18.    At the time the alleged debt was assigned to Defendant, RAB

     was not registered with the Florida Office of Financial Regulation as a

     consumer collection agency.

           19.    Because RAB was not registered with the Florida Office of

     Financial Regulation as a consumer collection agency, the purported debt

     was unlawful to collect.

           20.    On July 14, 2014, in the U.S.D.C.-Western District of

     Tennessee, Defendant entered into a Stipulated Order for Permanent

     Injunction and Civil Penalty with the Federal Trade Commission that mirror

     aforementioned paragraphs. (See Ex. A).
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           21.    None of Defendants telephone calls placed to Plaintiff were for

     “emergency purposes” as specified in 47 U.S.C § 227 (b)(1)(A).

           22.    Defendants willfully or knowingly violated the TCPA.

                           COUNT I
      VIOLATION OF THE TCPA REGARDING RAB AND JOHN DOE

           23.    Plaintiff incorporates Paragraphs 1 through 22.

           24.    Defendant RAB, or others acting at its request, on behalf of

     John Doe, placed non-emergency telephone calls to Plaintiff’s cellular

     telephone using an automatic telephone dialing system or pre-recorded or

     artificial voice violation of 47 U.S.C § 227 (b)(1)(A)(iii).

           WHEREFORE, Plaintiff requests that the Court enter judgment in

     favor of Plaintiff and against Defendants, RAB, and DOE for:

                  a.     Damages;

                  b.     a declaration that Defendants calls violate the TCPA;

                  c.     a permanent injunction prohibiting Defendants from

                  placing non-emergency calls to Plaintiff’s cellular telephone

                  using an automatic telephone dialing system or pre-recorded or

                  artificial voice; and

                  d.     Such other or further relief as the Court deems proper.

                             COUNT II
              VIOLATION OF THE FDCPA 15 U.S.C.§1692 et. seq.
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           25.    Plaintiff incorporates Paragraphs 1 through 22.

           26.    The Defendant, RAB conduct violated 15 U.S.C. § 1692d in

     that Defendants engaged in behavior the natural consequence of which was

     to harass, oppress, or abuse the Plaintiff in connection with the collection of

     a debt.

           27.    The Defendant, RAB, conduct violated 15 U.S.C. § 1692d(5) in

     that Defendants caused a phone to ring repeatedly and engaged the Plaintiff

     in telephone conversations, with the intent to annoy and harass. See Dunning

     v. Portfolio Recovery Associates, LLC, 903 F.Supp.2d 1362 (S.D.Fla.2012).

           28.    The Defendant, RAB, conduct violated 15 U.S.C. §

     1692(e)(2)(a) in that Defendant attempted to collect from Plaintiff on a debt

     which she did not owe.

           29.    The Defendant, RAB, conduct violated 15 U.S.C. § 1692f in

     that Defendants used unfair and unconscionable means to collect a debt.

           WHEREFORE, Plaintiff requests that the Court enter judgment in

           favor of Plaintiff and against Defendant, RAB for:

           a.     Damages;

           b.     Attorney’s fees, litigation expenses and costs of suit; and

           c.     Such other or further relief as the Court deems proper.
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                                  COUNT III
                           VIOLATION OF THE FCCPA

           30.    Plaintiff incorporates Paragraphs 1 through 22.

           31.    In collecting consumer debts, no person shall… willfully

     communicate with the debtor or any member of her or his family with such

     frequency as can reasonably be expected to harass the debtor or her or his

     family, or willfully engage in other conduct which can reasonably be

     expected to abuse or harass the debtor or any member of her or his family.

           32.    Defendant’s persistent and unlawful calling campaign was

     carried out with the intent to abuse and harass the Plaintiff.

           33.    Pursuant to Florida law, Plaintiff may obtain declaration that

     Defendant’s practices are in violation of the FCCPA, including but not

     limited to Fla. Stat. §§ 559.72(7), §§559.72(9).

           34.    The FCCPA provides for equitable relief including injunctive

     relief. Berg v. Merchs. Ass'n Collection Div., 586 F. Supp. 2d 1336, 1345,

     (S.D. Fla. 2008).

           35.    Plaintiff seeks a permanent injunction prohibiting Defendant

     and any other party from calling Plaintiff regarding the alleged debt.

           36.    Plaintiff is also entitled to recover statutory damages and/or

     actual damages pursuant to the FCCPA.
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           WHEREFORE, Plaintiff requests that the Court enter judgment in

     favor of Plaintiff and against Defendants, RAB, for:

                 a. Damages, both statutory and actual;

                 b. Declaring that Defendant’s practices are in violation of the

                    FCCPA;

                 c. Permanently enjoining Defendant and any other parties from

                    calling Plaintiff regarding the alleged debt;

                 d. Attorney's fees, litigation expenses and costs of suit; and

                 e. Such other or further relief as the Court deems proper.

                           COUNT IV
       FAILURE TO OBTAIN A DEBT COLLECTION LICENSE AS
     MANDATED BY FLA. STAT. §§559.555 AND IN VIOLATION OF 15
                        U.S.C. 1692 et seq.

           37.      Plaintiff incorporates paragraphs 1-22

           38.      Defendant regularly engages in the practice of consumer debt

     collection in Florida. Defendant attempts to collect debts owned to others in

     Florida.

           39.      The Florida legislature's determination that a debt collector's

     failure to register under FLA. STAT. § 559.555 and subsequent pursuit of

     unauthorized debt collection activity is a misdemeanor criminal act

     demonstrates the seriousness with which the State of Florida intends to

     address violations of the FCCPA.
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           40.    Defendant, RAB’s, failure to obtain a consumer debt collection

     license as mandated by Florida Statutes § 559.553, while actively engaging

     in debt collection in the State of Florida, violated various provisions of the

     Fair Debt Collection Practices Act, including the following: 15 U.S.C §

     1692e, 15 U.S.C. § 1692e(2), 15 U.S.C. § 1692e(5), and 15 U.S.C. §

     1692e(10). See generally, LeBlanc v. Unifund CCR Partners, 601 F.3d 1185

     (11th Cir. 2010) (“We therefore hold that a violation of the FCCPA for

     failure to register may, in fact, support a federal cause of action under

     Section 1692e(5) of the FDCPA for threatening to take an action it could not

     legally take.”).

           WHEREFORE, Plaintiff requests that the Court enter judgment in

           favor of Plaintiff and against Defendants, RAB, and DOE for:

                  a.       Damages;

                  b.       Attorney’s feels, litigation expenses and costs of the

           instant suit;

                  c.       a permanent injunction prohibiting Defendants from

           engaging in consumer collection activity within the State of Florida

           without the requisite licensure; and

                  d.       Such other or further relief as the Court deems proper.

                                         JURY DEMAND
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            Plaintiff demands trial by jury.

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